                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management hearing was scheduled at 2:15 p.m. on November 23, 2010, to consider Plaintiff's appeal. On October 5, 2010, the court sent notice of the scheduled case management hearing to Plaintiff at Boones Crossing LLC, ATTN Michael Hanks, 14845 SW Murray Scholls #110 PMB 515, Beaverton, OR 97007, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On November 29, 2010, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by December 13, 2010, for its failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining its failure to appear at the November 23, 2010, case management hearing. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of December 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Dan Robinsonon December 22, 2010. The Court filed and entered this documenton December 22, 2010.